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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

    RICHARD FELTZ, on behalf of himself
    and others similarly situated,

                    Plaintiffs,

              v.                                              Case No. 18-cv-0298-CVE-JFJ

    BOARD OF COUNTY
    COMMISSIONERS OF TULSA
    COUNTY, et al.,

                    Defendants.


                                  AMENDED SCHEDULING ORDER

          Plaintiff’s Motion to Extend Discovery (ECF No. 247) is granted, as clarified and explained

   by separate Order entered this date. This Order amends and supersedes the Court’s prior Order

   (ECF No. 250).

          It is ORDERED that:

          •        The deadline for fact discovery has expired.

          •        The deadline for Plaintiff’s expert reports is extended to April 27, 2021.

          •        The deadline for Defendants’ expert reports and disclosures are extended to May
                   28, 2021.

          •        The deadline for expert discovery is extended to July 2, 2021.

          •        The deadline for dispositive and Daubert motions is extended to August 10, 2021.

          SO ORDERED this 19th day of February, 2021.




                                                           JODIF.JAYNE,MAGISTRATEJ
                                                                                 UDGE
                                                           UNITEDSTATESDISTRICTCOURT
